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        ATTACHMENT 11
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13                              UNITED STATES DISTRICT COURT

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                   SAN FRANCISCO DIVISION

16
     IN RE CATHODE RAY TUBE (CRT)                            Case No. 3:07-CV-05944
17   ANTITRUST LITIGATION
                                                             ADMINSTRATIVE MOTION
18                                                           PURSUANT TO CIVIL L.R. 3-12 TO
     IN RE EX PARTE APPLICATION FOR JUDICIAL                 CONSIDER WHETHER CASES
19   ASSISTANCE FOR THE ISSUANCE OF                          SHOULD BE RELATED
     SUBPOENAS PURSUANT TO 28 U.S.C. § 1782
20   TO OBTAIN DISCOVERY FOR USE IN A                        (Filed by Sharp Corporation, Petitioner,
     FOREIGN PROCEEDING                                      in Case No. ___________, Ex Parte
21                                                           Application for Judicial Assistance for
     Sharp Corporation, Petitioner                           the Issuance of Subpoenas Pursuant to
22                                                           28 U.S.C. § 1782 to Obtain Discovery
                                                             for Use in a Foreign Proceeding)
23

24

25
                   Pursuant to Civil Local Rules (L.R.) 3-12 and 7-11 of the United States District
26
     Court of the Northern District of California, Movant Sharp Corporation (“Sharp”) respectfully
27
     submits this Administrative Motion for this Court to consider whether the concurrently-filed
28
     action, Ex Parte Application for Judicial Assistance for the Issuance of Subpoenas Pursuant to
                                          -1-
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES ARE RELATED - Case No. 3:07-CV-05944
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1    28 U.S.C. § 1782 to Obtain Discovery for Use in a Foreign Proceeding) [Case No. pending]

2    (hereinafter “Application”).should be related to the earlier filed case or cases now pending in this

3    district, In re Cathode Ray Tube (CRT) Antitrust Litigation, Case No. 07-cv-5944-SC

4    (hereinafter “N.D. Cal. Litigation”).

5                     Cases are related when: “(1) The actions concern substantially the same parties,

6    property, transaction or event; and (2) It appears likely that there will be an unduly burdensome

7    duplication of labor and expense or conflicting results if the cases are conducted before different

8    Judges.” Civil L.R. 3-12. If the two above actions meet this standard, then the Application

9    pursuant to 28 U.S.C. § 1782 should be deemed related to the currently N.D. Cal. Litigation and

10   assigned to the same judge, the Honorable Samuel Conti of the Northern District of California in

11   San Francisco.

12                    In the Application pursuant to 28 U.S.C. § 1782, Sharp seeks the production of

13   documents produced in discovery in N.D. Cal. Litigation in order to help Sharp pursue claims in

14   an ongoing lawsuit it has filed as a plaintiff in the Republic of Korea, specifically, a case in

15   Suwon District Court docketed as 2010gahap21125 Claim for Damages (gi) (“Korean

16   Litigation”). The Korean Litigation alleges the illegal cartel activity by purported competitors

17   and concerns damages incurred by Sharp for cathode ray tubes (“CRTs”) and products

18   containing CRTs for purchases being in or for the Asian market.

19                    The N.D. Cal. Litigation is a Multi-District Litigation (“MDL”) proceeding

20   consolidated for pretrial purposes and pending before Judge Conti. Included in it is a class

21   action brought on behalf of companies and individuals who were direct purchasers of CRTs and

22   products containing CRTs. The Direct Purchaser Plaintiffs’ Consolidated Amended Complaint

23   (Doc. No. 436 in Case No. 3:07-cv-05944-SC) alleges that 12 manufacturers of CRTs and CRT

24   products and their related corporate entities participated in the conspiracy. These defendants

25   include, but are not limited to, entities who have been named by Sharp as defendants in the

26   Korean Litigation. Although the claims in the Korean Litigation are based on purchases being in

27   or for the Asian market, the Korean Litigation is otherwise substantially based on the same

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